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 1
                                UNITED STATES DISTRICT COURT
 2                             WESTERN DISTRICT OF WASHINGTON
                                         AT TACOMA
 3

 4      UNITED STATES OF AMERICA,                           CASE NO. CR13-5695BHS

 5                         Plaintiff-Respondent,            ORDER DENYING MOTION FOR
                                                            REDUCTION OF SENTENCE
 6               v.

 7      JESUS RAMIREZ,

 8                         Defendant-Movant.

 9
            This matter comes before the court on Defendant-Movant Jesus Ramirez’ (Ramirez)
10
     Motion to Reduce Sentence Pursuant to 18 U.S.C. § 3582. Dkt. 65. The court has reviewed the
11
     motion and the government’s response (Dkt. 69).
12
            Defendant seeks a reduction in sentence based on Amendment 788 to the Sentencing
13
     Guidelines which made Amendment 782 to USSG 2D1.1. Because Defendant already received a
14
     two-level offense level reduction on the basis of these proposed Amendments at his original
15
     sentence hearing, he is ineligible for an additional reduction, and his motion should be denied.
16
            NOW, THEREFORE, IT IS HEREBY ORDERED that Ramirez’ Motion to Reduce
17
     Sentence Pursuant to 18 U.S.C. § 3582 is DENIED.
18
            Dated this 11th day of June, 2015.
19

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22
                                                   A
                                                   BENJAMIN H. SETTLE
                                                   United States District Judge
23

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     ORDER - 1
